  Case: 4:21-cr-00272-MTS Doc. #: 23 Filed: 06/24/21 Page: 1 of 2 PageID #: 33




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF MISSOURI


STATE OF MISSOURI,                                    )
                                                      )
                        Plaintiff,                    )
                                                      )
       vs.                                            )      Case No. 4:21-cr-00272
                                                      )
DAVID BARKLAGE,                                       )
                                                      )
                        Defendant.                    )


                                 MOTION FOR CONTINUANCE


       COMES NOW Defendant by and through Counsel Dee Wampler, Joseph S. Passanise,

and Taylon Sumners of the WAMPLER AND PASSANISE LAW OFFICE and moves the Court

for a continuance of the Plea Hearing scheduled for June 29, 2021, at 1:00 p.m. in accordance

with the Legal Suggestions attached hereto:

                                     LEGAL SUGGESTIONS

             1. This cause is scheduled for Plea Hearing on June 29, 2021.

             2. Counsel is requesting this case be moved to the week of July 26th, 2021 due to

                scheduling conflicts and multiple trials scheduled.

             3. Counsel has spoken with AUSA Hal Goldsmith who will not object to having this

                matter reset.

      WHEREFORE, Counsel prays for an order herein that the Plea Hearing be reset to the
week of July 26th, 2021, and for such other and further relief as the Court deems just and proper.




                                                 1
  Case: 4:21-cr-00272-MTS Doc. #: 23 Filed: 06/24/21 Page: 2 of 2 PageID #: 34




                                                    RESPECTFULLY SUBMITTED,

                                                    _______/s/Joseph S. Passanise________
                                                    DEE WAMPLER, MO Bar #19046
                                                    JOSEPH S. PASSANISE, MO Bar #46119
                                                    TAYLON M. SUMNERS, MO Bar # 73114
                                                    Attorneys for Defendant




WAMPLER & PASSANISE
LAW OFFICE
Attorneys at Law
2974 E. Battlefield
Springfield, MO 65804
joe@deewampler.com
dee@deewampler.com
taylon@deewampler.com
PH: (417)882-9300
FAX: (417)882-9310




                                     Certificate of Service
        I hereby certify that on June 24, 2021, I electronically filed the foregoing with the U.S.
District Court Clerk for the Eastern District of Missouri using the CM/ECF system which sent
notification of such filing to U.S. Attorney, St. Louis, Missouri.


                                                    _____/s/Joseph Passanise______________
                                                    Dee Wampler
                                                    Joseph S. Passanise
                                                    Taylon Sumners
                                                    Attorneys at Law




                                                2
